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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


DR. AMIR KAKI, M.D., ET AL,
                                                 Case No. 20-10004
              Plaintiffs,
                                                 SENIOR U.S. DISTRICT JUDGE
                  v.                             ARTHUR J. TARNOW

TENET HEALTHCARE CORPORATION,                    U.S. MAGISTRATE JUDGE
ET AL,                                           DAVID R. GRAND

             Defendant.


                                       /

   ORDER DIRECTING DEPOSIT OF SETTLEMENT FUNDS WITH THE CLERK OF
       COURT AND DISTRIBUTION OF CERTAIN SETTLEMENT FUNDS

      A dispute exists between Dr. Elder, Deborah Gordon, and Deborah Gordon

Law (“DLG”) as to the amount of fees owing from Dr. Elder to Gordon. Neither

current counsel for Dr. Elder nor counsel for Defendants have asserted the existence

of any dispute as to the amount of costs owing from Dr. Elder to Gordon.

      Tenet Healthcare Corporation, and its subsidiaries, affiliates, agents, and other

representatives (“Tenet”) and Dr. Elder have entered into a written settlement

agreement that fully and finally resolves all claims and disputes among them, as well

as with the other Defendants (the “Settlement Agreement”). The Settlement

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Agreement is a binding, fully integrated contract, which includes all terms and

conditions related in any way to the settlement between Tenet and Dr. Elder.

      On February 8, 2021, Gordon filed a Notice of Charging Lien arising out of

DGL’s representation of Dr. Elder. (ECF No. 44). On March 19, 2021, counsel for

Dr. Elder filed a Satisfaction of Judgment as to Dr. Elder. (ECF No. 48). It stated in

part that “Dr. Elder and the Defendants have reached a resolution, and Dr. Elder

acknowledges that his share of said damages, interest, and the pro rata portion of

costs . . . has been satisfied.” (Id. at 2073). In response, Gordon filed an Emergency

Motion to Stay Disbursement of Funds and to Set Aside Satisfaction of Judgment.

(ECF No. 49). On March 22, 2021, Dr. Elder and Defendants filed a Stipulation

Regarding Settlement Funds. (ECF No. 50). The Stipulation states in part that “to

date no funds have been disbursed from Defendants to Elder.” (Id. at 2099).

      On March 26, 2021, the Court held a status conference. Four days prior, the

Court had requested the parties file a brief status report in advance of the conference.

No report was submitted by counsel for Dr. Elder, however, at the status conference,

counsel for Dr. Elder informed the Court and Gordon that a lawsuit against DGL had

recently been filed in Wayne County Circuit Court. To date, the Court has not

received a copy of the Wayne County lawsuit, however, on March 31, 2021, it

received documentation from counsel for Dr. Elder that Judge Allen in the Wayne

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County case plans to “hold off on any motions or orders until [there] is more clarity

on the situation.” Later the same day, the Court was informed via email that “counsel

for Tenet received an email demand from Mr. Abdrabboh, Counsel for Plaintiff

Elder, requesting payment of funds to Dr. Elder pursuant to the terms of the

confidential Settlement Agreement. In order to avoid a breach of contract claim by

failing or refusing to comply with the demand, and absent a court order to the

contrary, Tenet intends to make the requested payment to Dr. Elder, pursuant to the

terms of the confidential Settlement Agreement.”

      Because the fee dispute between Dr. Elder and DGL remains ongoing, the

Court will direct Tenet to deposit the funds at issue with the Clerk of the Court to

avoid potential prejudice to DGL’s charging lien. See United States v. $1,264,000.00

in United States Currency, 832 F. App’x 367, 371 (6th Cir. 2020) (explaining that

“[a]ncillary enforcement jurisdiction stems from a federal court’s inherent power to

enforce its judgment”); see also Doxtader v. Sivertsen, 183 Mich. App. 812, 815

(1990). The relief ordered below has been stipulated to by Gordon, DGL, and

Defendants. The Court notes Dr. Elder’s objections.

      In light of the above, IT IS HEREBY ORDERED that:

   1. Within five business days of the entry of this Order, Tenet shall deposit with

      the Clerk of this Court an amount of money equal to the total of all of the

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      settlement payments owed by Tenet to or for the benefit of Dr. Elder under

      the Settlement Agreement. The amount deposited shall be without regard to

      the allocation of pro rata shares of costs and attorney fees between Dr. Amir

      Kaki and Dr. Elder, as to which allocation Tenet has no interest and takes no

      position.

   2. After confirmation by the Clerk of the Court of receipt of the deposit from

      Tenet, Tenet shall be deemed to have legally satisfied all payment obligations

      owed to Dr. Elder under the terms of the Settlement Agreement, and all

      Defendants shall be fully released from any claims whatsoever by Dr. Elder

      and/or Gordon related to the deposited funds, including but not limited to the

      charging lien asserted by Deborah Gordon Law.

   3. Pursuant to the terms of the Settlement Agreement, the terms of the

      Settlement Agreement are and shall remain strictly confidential, except as

      provided below.

   4. On or before 5:00 pm on April 2, 2021, Tenet and Dr. Elder shall jointly

      disclose to Deborah Gordon the amount of money deposited with the Clerk

      of this Court pursuant to this Order. Upon deposit with the Clerk of this

      Court, the Clerk shall promptly confirm to Gordon and counsel for Gordon

      the fact and amount of the deposit.

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   5. Gordon and counsel for Gordon shall maintain the confidentiality of the

      amount of money deposited with the Clerk of the Court, as referenced above

      in paragraphs 1 and 4, and they shall only use that information for the limited

      purpose of calculating the attorney fees asserted by Deborah Gordon Law as

      a result of its representation of Dr. Elder in this matter. Gordon shall not

      disclose the amount deposited by Tenet to Dr. Amir Kaki, nor shall Gordon

      disclose to Dr. Kaki any calculation of the attorney fee asserted to be owed to

      Gordon by Dr. Elder. Any motion or other document filed by Gordon

      specifying, directly or indirectly, the amount deposited with the Clerk of the

      Court or the amount of attorney fees claimed by Gordon shall be filed under

      seal.

   6. On or before 5:00 pm on April 9, 2021, counsel for Gordon and Dr. Elder

      shall submit to this Court a stipulation identifying the amounts on deposit with

      the Clerk of this Court as to which there is no dispute and as to which this

      Court shall, therefore, order prompt distribution by the Clerk of this Court.

      The Court reminds all parties of their obligations to act in complete good faith

      in entering into said stipulation and cautions that failure to act in complete

      good faith can lead to anappropriate award of sanctions.




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   7. Upon satisfaction of the terms in this Order, Deborah Gordon Law’s Motion

      to Stay Disbursement of Funds and To Set Aside Satisfaction of Judgment

      (ECF No. 49, PageID.2075-2095) will be withdrawn and shall not be refiled.



   SO ORDERED.

                                     s/Arthur J. Tarnow
                                     Arthur J. Tarnow
Dated: March 31, 2021                Senior United States District Judge




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